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                          UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

                                                   )
 MORINVILLE,                                       )
                                                   )
                Plaintiff,                         )
                                                   )       Case No. 20-cv-00980-KPJ
                v.                                 )
                                                   )
 OVERWATCH DIGITAL HEALTH, INC.
                                                   )
 ET. AL,
                                                   )
                Defendants.                        )
                                                   )

               JOINT REPLY TO PLAINTIFF’S RESPONSE TO JOINT
             MOTION OF CLIVE BARRETT, EMMANUEL CORREIA, AND
                  RISION LIMITED FOR SUMMARY JUDGMENT

       Clive Barrett (“Barrett”), Emmanuel Correia (“Correia”), and Rision Limited (“Rision”

and collectively with Barrett and Correia, the “Joint Defendants”), by and through their

undersigned counsel, hereby reply to the Plaintiff’s response [Dkt. No. 57] (the “Response”) to the

Joint Motion of Clive Barrett, Emmanuel Correia, and Rision Limited for Summary Judgment

[Dkt. No. 54] (the “Motion”) as follows:

       1.      To survive a motion for summary judgment, a non-movant who bears the ultimate

burden of proof must submit evidence of the elements essential to the non-movant’s case. See

Celotex Corp. v. Catrett, 477 U.S. 317, 322–23 (1986). The nonmoving party must identify

evidence in the record and articulate how that evidence creates a genuine issue. Stewart v. Lone

Star Exteriors, LLC, 447 F. Supp. 3d 548, 553 (E.D. Tex. 2019). To be competent summary

judgment evidence, the offering party must be capable of producing the substance or content of in

an admissible form. Fed. R. Civ. P. 56(c)(2). Unsubstantiated assertions are not competent

summary judgment evidence. Forsyth v. Barr, 19 F.3d 1527, 1533 (5th Cir. 1994). A dispute is
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genuine only if the evidence could lead a reasonable fact-finder to find for the non-moving party.

Stewart, 447 F. Supp. 3d at 553.

         2.       Summary judgment should be granted in favor of the Joint Defendants. The thrust

of the Response is that the BioEye and Overwatch merged to form a single entity or that Terry

Fokas had the authority to bind both Overwatch and BioEye. (See Response at p. 10). Additionally,

the Plaintiff submits documents that the Plaintiff contends—without any reasonable, non-

speculative basis—are evidence of secret negotiations with the AFL. But none of that has any

bearing on any claims that the Plaintiff asserts against the Joint Defendants.

         3.       In the Motion, the Joint Defendants submitted evidence showing that (a) there was

no contract between the Plaintiff and any of the Joint Defendants,1 (b) none of the Joint Defendants

made any representations to the Plaintiff regarding the Plaintiff’s employment engagement, or the

compensation that the Plaintiff claims he is owed pursuant to the oral contract negotiated between

the Plaintiff and Terry Fokas,2 (c) the Plaintiff was employed or otherwise engaged pursuant to an

oral contract negotiated between Terry Fokas and the Plaintiff,3 (d) none of the Joint Defendants

assert rights to the Patent Application or Technology,4 and (d) the Plaintiff created any protected

intellectual property in collaboration with other individuals.5 The Plaintiff does not submit




1
  The Joint Defendants identified evidence supporting this uncontested fact in pages 18-19 of the Motion, citing to
Pl.’s Resp. to BioEye’s Interrog. Nos. 1 and 2.
2
  The Joint Defendants identified evidence supporting this uncontested fact on page 20 of the Motion, citing to Pl.’s
Resp. to BioEye’s Interrog. No. 2; Pl.’s Resp. to Barrett Interrog. No. 2; Pl.’s Resp. to Correia Interrog. No.
2; Barrett Decl. ¶ 23; and Correia Decl. ¶ 21.
3
  The Joint Defendants identified evidence supporting this uncontested fact on page 20 of the Motion, citing to Pl.’s
Resp. to BioEye’s Interrog. Nos. 1 and 2.
4
  The Joint Defendants identified evidence supporting this uncontested fact on pages 21-22 of the Motion, citing to
Yellin Decl. Ex. K, Barrett Decl. ¶ 24; Correia Decl. ¶ 22; Ferri Decl. Ex. D.
5
  The Joint Defendants identified evidence supporting this uncontested fact on pages 21 and 23 of the Motion, citing
to Yellin Decl. ¶¶ 11-12, 14, Ex. D; Pl.’s Resp. to BioEye’s Req. for Admis. Nos. 1 and 18; Shannon Decl. Ex. O).
Moreover, the Plaintiff admits on pages 10-11 of the Response that others actually wrote the code for any of the
technology and worked with others to implement the requirement documents that the Plaintiff allegedly prepared.


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anything that he even contends to be competent summary judgment evidence creating a genuine

dispute with respect to those facts.

       4.      No reasonable fact finder could conclude from the evidence in the record that any

of the Joint Defendants are liable for compensation owed to the Plaintiff under the oral contract

with Terry Fokas or that the Plaintiff is entitled to sole ownership of the Patent Application or the

Technology. The Court should therefore summary judgment in favor of the Joint Defendants.

                           [Remainder of Page Intentionally Left Blank]




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Dated: December 17, 2021                            PARKINS LEE & RUBIO LLP

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                                                    Counsel to Clive Barrett, Emmanuel Correia,
                                                    and Rision Limited.




                                 CERTIFICATE OF SERVICE

        I hereby certify that on December 17, 2021, the forgoing document was served on the
following parties (a) through the Court’s CM/ECF System if registered to receive such service
and (b) by U.S.P.S. first class mail, postage prepaid and/or email on the following parties as
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                                              /s/ Lenard M. Parkins                        .
                                              Lenard M. Parkins




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